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Name and address:

David Z. Chesnoff, Esq.
Chesnoff & Schonfeld
520 S. Fourth Street
Las Vegas, NV 89101

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA VASE NUMBER
Plaintiff(s), 2:2024-CR-00091
Vv.
APPLICATION OF NON-RESIDENT ATTORNEY
ALEXANDER SMIRNOV TO APPEAR IN A SPECIFIC CASE

Defendant(s), PRO HAC VICE

INSTRUCTIONS FOR APPLICANTS

(1) The attorney seeking to appear pro hac vice must complete Section I of this Application, the certification in Section II, and have the
designated Local Counsel sign in Section III. Space to supplement responses is provided in Section IV. The applicant must also attach a
Certificate of Good Standing (issued within the last 30 days) from every state bar to which he or she is admitted; failure to do so will be
grounds for denying the Application. Scan the completed Application, together with any attachment(s), to a single Portable Document
Format (PDF) file.

(2) Have the designated Local Counsel file the Application electronically using the Court's electronic filing system ("Motions and Related
Filings => Applications/Ex Parte Applications/Motions/Petitions/Requests => Appear Pro Hac Vice (G-64)"), attach a Proposed Order
(using Form G-64 ORDER, available from the Court's website), and pay the required $500 fee online at the time of filing (using a credit
card). The fee is required for each case in which the applicant files an Application, Failure to pay the fee at the time of filing will be
grounds for denying the Application. Out-of-state federal government attorneys are not required to pay the $500 fee. (Certain
attorneys for the United States are also exempt from the requirement of applying for pro hac vice status, See L.R. 83-2.1.4.) A copy of the
G-64 ORDER in Word or WordPerfect format must be emailed to the generic chambers email address. L.R. 5-4.4.2.

SECTION I- INFORMATION

Chesnoff, David Z.

Applicant's Name (Last Name, First Name & Middle Initial) check here if federal government attorney O
Chesnoff & Schonfeld

Firm/Agency Name

520 S. Fourth St 702-384--5563

Telephone Number Fax Number
Street Address
Las Vegas, NV 89101 dzchesnoff@cslawoflice.net
City, State, Zip Code E-mail Address

I have been retained to represent the following parties:
Alexander Smirnov ["] Plaintiff(s) [] Defendant(s) [J] Other:
[-] Plaintiffs) [7] Defendant(s) [7] Other:

Name(s) of Party(ies) Represented

List all state and federal courts (including appellate courts) to which the applicant has been admitted, and provide the current status of his or
her membership. Use Section IV if more room is needed, or to provide additional information.

Name of Court Date of Admission Active Mentber in Good Standing? (if not, please explain)
State Bar of Nevada 9/21/1981 Yes
State Bar of Texas 11/12/1979 Yes

See Section IV

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List all cases in which the applicant has applied to this Court for pro hac vice status in the previous three years (continue in Section I'V if
needed):
Case Number Title of Action Date of Application Granted / Denied?

n/a

If any pro hac vice applications submitted within the past three (3) years have been denied by the Court, please explain:

Attorneys must be registered for the Court's electronic filing system to practice pro hac vice in this Court, Submission
of this Application will constitute your registration (or re-registration) to use that system. If the Court signs an Order
granting your Application, visit www.pacer.gov to complete the registration process and activate your e-filing
privileges in the Central District of California.

SECTION II - CERTIFICATION

I declare under penalty of perjury that:

(1) All of the above information is true and correct.

(2) Lam nota resident of the State of California. [am not regularly employed in, or engaged in
substantial business, professional, or other activities in the State of California.

(3) Tam not currently suspended from and have never been disbarred from practice in any court.

(4) Iam familiar with the Court's Local Civil and Criminal Rules, the Federal Rules of Civil and
Criminal Procedure, and the Federal Rules of Evidence.

(5) I designate the attorney listed in Section III below, who is a member in good standing of the Bar
of this Court and maintains an office in the Central District of California for the practice of law, in
which the attorney is physically present on a regular basis to conduct business, as local counsel
pursuant to Local Rule 83-2.1.3.4.

Dated 2A) 2b9. David Z. Chesnoff
Applicant's Name (please type or print)
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SECTION III - DESIGNATION OF LOCAL COUNSEL

KHOURY. NASER I.
Designee’s Name (Last Name, First Name & Middle Initial)

LAW OFFICES OF NASER J. KHOURY

Firm/Agency Name

14427 SYLVAN STREET (818)654-0001 (818)654-0007
Telephone Number Fax Number

Street Address naseratlaw@email.com

Email Address

VAN NUYS, CA 91401
City, State, Zip Code

152907
Designee's California State Bar Number

I hereby consent to the foregoing designation as local counsel, and declare under penalty of perjury that | maintain an office in the
Central District of California for the practice of law, in which I am physically present on a regular basis to conduct business.

Dated February 22, 2024 NASER I. KHOURY
Designee's N@mne (please type-or_print)

Designee's Signature

SECTION IV - SUPPLEMENT ANSWERS HERE (ATTACH ADDITIONAL PAGES IF NECESSARY)

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